Case 2:17-cv-00194-JRG-RSP Document 4 Filed 03/13/17 Page 1 of 1 PageID #: 50




                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,


                     Plaintiff,                      Civil Action No. 2:17-cv-194
                v.                                   JURY TRIAL DEMANDED
OLYMPUS AMERICA, INC.

                     Defendant.


                        CORPORATE DISCLOSURE STATEMENT

	      Plaintiff Display Technologies, LLC is a Texas limited liability company.   Display

Technologies, LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.

Dated: March 13, 2017                            Respectfully submitted,

                                                 /s/ Thomas C. Wright
                                                 Thomas C. Wright, Ph.D.
                                                 State Bar No. 24028146
                                                 Alex J. Whitman
                                                 State Bar No. 24081210
                                                 Cunningham Swaim, LLP
                                                 7557 Rambler Road, Suite 400
                                                 Dallas, TX 75231
                                                 Telephone: (214) 646-1495
                                                 twright@cunninghamswaim.com
                                                 awhitman@cunninghamswaim.com

	  

	  

	  

	  

	  
